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UNITED STA TES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DIVISIoN
`,:,`L§q‘k Di§ii:ii=s
TI.IUANA BOSWELL .IUDGMENT IN A CIVIL CASE
Plaintiff,
v.
IKON OFFICE SOLUTIONS, CASE NO: 04-3028-B
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of Dismissal
entered on May 20, 2005, this cause is hereby dismissed Without prejudice.

R()VED:

 

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sTATEs s HOBERT R. nl'rnouo

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LL`-l_'i°_’ ____.,_
Date Clerk of Court

Thts document entered on the docket ehth fn compliance
with Hule 58 and/or 79(a) FRCP on

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:04-CV-03028 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listedl

 

 

Tijuana Boswell
P.O. Box 820173
Memphis7 TN 3 81 82--017

Honorable J. Breen
US DISTRICT COURT

